    Case 1:17-cv-00113-PLM-RSK ECF No. 8 filed 02/06/17 PageID.29 Page 1 of 6



                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                                ____________________
CITY OF GRAND RAPIDS,
                                                             Case No.: 1:17-cv-00113-PLM-RSK
       Plaintiff,
                                                             Hon. Paul L. Maloney
v
GRAND RAPIDS POLICE OFFICERS
ASSOCIATION, GRAND RAPIDS POLICE
COMMAND OFFICERS ASSOCIATION,
ADAM ICKES, THOMAS WARWICK, and
MATTHEW JANISKEE,

       Defendants.
_____________________________________
John H. Gretzinger (P28979)
Scott E. Dwyer (P33131)
Kurt M. Graham (P57190)
MIKE MEYERS, PLC
900 Monroe Avenue, N.W.
Grand Rapids, MI 49503
(616) 632-8027
______________________________________________________________________________

               INTERVENOR’S ANSWER TO PLAINTIFF’S COMPLAINT

       DANIEL EMPSON, intervenor, hereby responds to Plaintiff’s Complaint for Declaratory

Relief and states as follows:

                       JURISDICTION AND VENUE ALLEGATIONS

       1. Admitted.

       2. Admitted.

       3. Admitted.

       4. The allegations contained in this paragraph are neither admitted nor denied due to a

           lack of knowledge sufficient to form a belief about the truth of the allegations.
Case 1:17-cv-00113-PLM-RSK ECF No. 8 filed 02/06/17 PageID.30 Page 2 of 6



   5. Admitted that Officer Ickes is a Grand Rapids Police officer. The remaining

      allegations contained in this paragraph are neither admitted nor denied due to a lack

      of knowledge sufficient to form a belief about the truth of the allegations.

   6. Admitted that Sergeant Warwick is a Grand Rapids Police Sergeant. The remaining

      allegations contained in this paragraph are neither admitted nor denied due to a lack

      of knowledge sufficient to form a belief about the truth of the allegations.

   7. The allegations contained in this paragraph are neither admitted nor denied due to a

      lack of knowledge sufficient to form a belief about the truth of the allegations.

   8. Admitted that Lieutenant Janiskee is a Grand Rapids Police Lieutenant. The

      remaining allegations contained in this paragraph are neither admitted nor denied due

      to a lack of knowledge sufficient to form a belief about the truth of the allegations.

   9. Admitted.

                            GENERAL ALLEGATIONS

   10. Admitted.

   11. The allegations contained in this paragraph are neither admitted nor denied due to a

      lack of knowledge sufficient to form a belief about the truth of the allegations.

   12. The allegations contained in this paragraph are neither admitted nor denied due to a

      lack of knowledge sufficient to form a belief about the truth of the allegations.

   13. The allegations contained in this paragraph are neither admitted nor denied due to a

      lack of knowledge sufficient to form a belief about the truth of the allegations.

   14. The allegations contained in this paragraph are neither admitted nor denied due to a

      lack of knowledge sufficient to form a belief about the truth of the allegations.
Case 1:17-cv-00113-PLM-RSK ECF No. 8 filed 02/06/17 PageID.31 Page 3 of 6



   15. The allegations contained in this paragraph are neither admitted nor denied due to a

      lack of knowledge sufficient to form a belief about the truth of the allegations.

   16. The allegations contained in this paragraph are neither admitted nor denied due to a

      lack of knowledge sufficient to form a belief about the truth of the allegations.

      However, Intervenor specifically states that he does not believe that the recordings or

      their disclosure would violate either the Federal Wiretapping Act or the Michigan

      Eavesdropping Act.

   17. The allegations contained in this paragraph are neither admitted nor denied due to a

      lack of knowledge sufficient to form a belief about the truth of the allegations.

      However, Intervenor specifically states that he does not believe that the recordings or

      their disclosure would violate either the Federal Wiretapping Act or the Michigan

      Eavesdropping Act.

   18. The allegations contained in this paragraph are neither admitted nor denied due to a

      lack of knowledge sufficient to form a belief about the truth of the allegations.

      However, Intervenor specifically states that the five referenced phone calls, along

      with the City’s investigation materials, have been the subject of subpoenas issued to

      the Grand Rapids Police Department, the Kent County Prosecutor’s Office, and the

      Kalamazoo County Prosecutor’s Office. These materials are also subject to an Order

      issued by Kent County Circuit Court Judge Paul Sullivan on January 9, 2017, which

      has been provided to counsel in this action as well as the Grand Rapids Police

      Department.
Case 1:17-cv-00113-PLM-RSK ECF No. 8 filed 02/06/17 PageID.32 Page 4 of 6



 DECLARATORY ACTION REGARDING LAWFUL ABILIT TO USE THE FIVE
  INADVERTENTLY TAPED CONVERSATIONS OR TO RELEASE THEM TO
                      OUTSIDE PARTIES

   19. Intervenor incorporates by reference the answers to Paragraphs 1 through 18.

   20. Admitted.

   21. Denied as stated, and denied specifically that 18 USC §2511(1)(c) has any application

      to this case.

   22. Denied as stated, and denied specifically that 18 USC §2511(4)(a); 18 USC

      §2520(b)(2), or 18 USC §2520(c)(2) have any application to this case.

   23. Admitted.

   24. Admitted.

   25. Admitted.

   26. Admitted regarding the details of the Michigan Eavesdropping Act, but denied that

      the Michigan Eavesdropping Act has any application to this case.

   27. Admitted regarding the details of the Michigan Eavesdropping Act, but denied that

      the Michigan Eavesdropping Act has any application to this case.

   28. Admitted regarding the details of the Michigan Eavesdropping Act, but denied that

      the Michigan Eavesdropping Act has any application to this case.

   29. Admitted regarding the details of the Michigan Eavesdropping Act, but denied that

      the Michigan Eavesdropping Act has any application to this case.

   30. Admitted.

   31. Admitted.

   32. Admitted.
Case 1:17-cv-00113-PLM-RSK ECF No. 8 filed 02/06/17 PageID.33 Page 5 of 6



   33. Admitted. Intervenor states further that he wishes to use the telephone recordings of

      Line 3407 to demonstrate that Kuiper was visibly intoxicated at the time of the

      automobile collision in the course of proving his claims for damages against Kuiper

      and other potential defendants.

   34. Admitted. Intervenor also states that his desire to use the Line 3407 telephone

      recordings conflicts with the defendants’ contentions that such use would violate the

      Federal Wiretapping Act and/or the Michigan Eavesdropping Act.

   35. Admitted. Intervenor further states that it has issued discovery requests and

      subpoenas requesting all of these materials and that the City is obligated to respond to

      those requests in a timely manner.

   36. Admitted.

   37. Admitted. Intervenor further states that the City is obligated to comply with its

      obligations pursuant to subpoena and properly issued discovery requests made in the

      course of the state litigation initiated by Intervenor.

   38. Admitted, and stated further that Intervenor has an interest in the outcome of this

      action in order to protect his own interest in the telephone records.

   WHEREFORE, Intervenor respectfully requests that this Court:

   a. Enter an Order finding that the Federal Wiretapping Act does not preclude disclosure

      of the Line 3407 telephone calls;

   b. Enter an Order finding that the Michigan Eavesdropping Act does not preclude

      disclosure of the Line 3407 telephone calls;
  Case 1:17-cv-00113-PLM-RSK ECF No. 8 filed 02/06/17 PageID.34 Page 6 of 6



       c. Enter an Order demanding that the City disclose the Line 3407 telephone calls to

          Intervenor and to all other interested persons and organizations who have issued

          proper requests for disclosure of the recordings;

       d. Other such relief as the Court deems just and equitable.

                                            Respectfully submitted,

                                            JOHNSON LAW, PLC


February 6, 2017                    By:       /s/ Brian A. Molde
                                            VEN R. JOHNSON (P39219)
                                            BRIAN A. MOLDE (P63790)
                                            99 Monroe Avenue, N.W., Suite 975
                                            Grand Rapids, Michigan 49503
                                            (616) 235-9400
